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                EXHIBIT A
            Case   2:23-cv-09225
             Electronically             Document 1-1 Filed 11/01/23 Page 2 of 2 Page ID #:9
                            Filed by Superior Court of California,
                                                    County of Orange,09/15/2023 06:34:22 PM.
30-2023-01350879-CU-BC-NJC - ROA #4 - DAVID H. YAMASAKI, Clerk of the Court By Y. Ramirez, Deputy Clerk.

                                                                                                                                                   SUM-100
                                        SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                    (SOLO PARA USO OE LA CORTE)
                                    (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
 ADT,LLC,a Delaware corporation d/b/a ADT SECURITY
 SERVICES.; and DOES 1 through 10,inclusive,
 YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
  JEWESS BOULUS,an individual;


  NOTICE! You have been sued. The court may deckle against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.govisellhelp), your county law Ibrary, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhetpcalifomia.org). the California Courts Online Self-Help Center
 (www.courtinfo.ca.govIsellhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civi case. The courts lien must be paid before the court will dismiss the case.
 jAVIS01 Lo hen demandado. Si no respond° dentro de 30 dlas, la code puede decidir en su contra sin escuchar su version. Lea la infonnacion a
 continuaclOn.
     Tlene 30 DIAS DE CALENDARIO despues de quo le entreguen esta citadels, y papelos legates pare presenter una respuesla por escrito on este
 code y hacer qua se entregue una copra al demandante. Una carte o una llamado tofefonica no to protegen. Su respuesta pot escrIto tlene que ester
 en formate legal correct° si desea que procesen su caso en la carte. Es posible que haya un forrnulario que usted puede user pare su respuesta.
 Puede encontrar estos formularies dole code y mas infonnacion en of Centro de Ayuda de las Caries de California (www.sucorte.ca.gov). en /a
 biblioteca de /eyes de at,condado o en la cotta que le quede mas cerca. Si no puede pager La cuoto de presentacion, pkla al secretario de la carte
 quo to de un formulario de exotic/On de pogo de cuotas. Si no presents su respuesta a tiempo, puede perder et caso per IncumplImlento y la code le
 padre guitar su sue/do, diner° y bienes sin mas advertencia.
    Hay otros requisites legates. Es recomendable qua flame a un abogado inmedlatamente. Si no conoce a un abogado, puede Rainer a un servicio de
 remision a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisites pare obtener servick)s legates gratultes de un
 programa de servicios legatos sin fines de lucre. Puede encontrar estos grupos sin fines de lucre one!sitioweb de California Legal Services,
 ( www.lawhelocalifomla.org), en el Centro de Ayuda de las Cortes de California,(www.sucorte.ca.gov)o poniandase an contact° con la code o el
 colegio de abogados locales. AVISO:Pot ley, la cotta liens derecho a reciamar las cuotas y los costos exentos pot lmponer un gravamen sobro
 cualquier recuperackin de $10,0006 mas de valor recibida mediante un acuerclo o una concesion de arbitraje en un caso de derecho civil. Tiene que
 pager of gravamen de la code antes de quo be cotta puede desechar at caso.
 The name and address of the court IS:                                                                    CASE NUMBER'.
(El nombre y direcci6n dole carte es): Orange County Superior Court                                      I30-2023-01350879-CU-BC-NJC
                                    1275 North Berkeley Avenue, Fullerton, CA 92832
 861166190/CW6iffic                                                                                       Assigned'for AU Purposes
  3130(kaxicxeladieraixxaMOWISO*Mxt1662MI                                                                       Judge Craig Griffin
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, Ia direccion ye!nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
  Alexis A. Jugan, MADISON LAW,APC, 17702 Mitchell North, Irvine, CA 92614,949-756-9050

 DATE: 09/ 15,2023
                           DAVID N. YAMASAK1. Clerir of th e Court  Clerk, by                9 RairrtkiLe4,                                          Deputy
(Fecha)                                                             (Secretario)                                                                    (Adjunto)
(For proofofservice of this summons, use Proof of Service of Summons (form FOS-010).)
(Pam prueba de entrega de este citatiOn use el formulario Proof of Service of Summons,(POS-010)). Y. Ram ire 2
                                  NOTICE TO THE PERSON SERVED: You are served
                                 1. ni as an individual defendant.
                                 2. ni as the person sued under the fictitious name of (specify):

                                                                          ADT, LLC, a Delaware corporation
                                      3. LK] on behalf of (specify):       dba ADT Security Services
                                           under: EX3 CCP 416.10(corporation)                                      CCP 416.60(minor)
                                                  ni CCP 416.20(defunct corporation)                               CCP 416.70(conservatee)
                                                 7  -1 CCP 416.40(association or partnership)                      CCP 416.90(authorized person)
                                                   I—I other (specify):
                                      4.   1---1 by personal delivery on (date):                                                                       Page lot I
  Form Adopted for Mandatory Use                                       SUMMONS                                                 Code of Chu Procedure §412.2O,455
    Judicial Councl of California                                                                                                              www.cocenfo.ce.gov
   SUM•100 Illev..My 1, 2009)
